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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

                                              )
QORVO, INC.,                                  )
                                              )
        Plaintiff,                            )
                                              ) C.A. No. 1:21-cv-01417-RGA
                v.                            )
                                              )
AKOUSTIS TECHNOLOGIES, INC. and               )
AKOUSTIS, INC.,                               )
                                              )
        Defendants.                           )


                                       PROPOSED ORDER

        The Court having considered Defendants Akoustis Technologies, Inc. and Akoustis, Inc.

(collectively “Akoustis”) Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6) (“Akoustis’

Motion”);

        IT IS HEREBY ORDERED THAT, Akoustis’ Motion is GRANTED.



Date:

                                           _________________________________
                                           UNITED STATES DISTRICT JUDGE
